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 9
                          IN THE UNITED STATES DISTRICT COURT
10
                                   FOR THE DISTRICT OF ARIZONA
11
     Mi Familia Vota; Arizona Coalition for          No. _________________
12   Change; and Ulises Ventura,
13                                                     COMPLAINT FOR
                          Plaintiffs,                DECLARATORY AND
14                                                   INJUNCTIVE RELIEF
     v.
15
     Katie Hobbs, in her official capacity as
16   Arizona Secretary of State,
17                        Defendant.
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 1                               PRELIMINARY STATEMENT
 2          1.     This action is brought to protect Plaintiffs who are engaged in voter
 3   registration work fundamental to our democracy, and to ensure that all Arizonans who
 4   want to register to vote in this year’s Presidential election will have the time necessary
 5   to do so, notwithstanding the COVID-19 pandemic.
 6          2.     Arizona law requires that all voters submit their registration to vote no
 7   later than 29 days before the election.
 8          3.     That means that any Arizonan who wishes to vote in this year’s
 9   Presidential election on November 3, 2020, must register no later than Monday, October
10   5, 2020 (the “Voter Registration Cutoff”) or lose the right to vote.
11          4.     But this is no ordinary year. This year, Arizona, like the rest of the
12   country and world, is grappling with the devastating and enduring effects of the
13   COVID-19 pandemic which has killed over 200,000 Americans.
14          5.     Plaintiffs Mi Familia Vota and Arizona Coalition for Change are not-for-
15   profit organizations working to register voters ahead of the November election. Plaintiff
16   Ulises Ventura is a voter registration organizer employed by Mi Familia Vota.
17          6.     From March 30, 2020, when Arizona imposed a stay-at-home order and
18   other restrictions on day-to-day interactions in order to mitigate the effects of the
19   pandemic, to the middle of August when those restrictions were lifted, Plaintiffs were
20   effectively prevented from registering voters.
21          7.     The act of registering people to vote through voter registration drives and
22   get-out-the-vote campaigning implicates core political speech and associational rights
23   protected by the First and Fourteenth Amendments.
24          8.     Plaintiffs have diverted significant resources to try to register as many
25   voters as possible ahead of the Voter Registration Cutoff notwithstanding the pandemic
26   conditions, but unless the Voter Registration Cutoff is extended, Plaintiffs will not be
27   able to complete their work and thousands of eligible voters will not be registered and
28   will not be able to vote in the election.
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 1          9.       Defendant Secretary of State’s enforcement of the Voter Registration
 2   Cutoff as applied under the pandemic conditions, which have prevailed in Arizona since
 3   March 2020, severely burdens Plaintiffs’ right to register voters for the election, in
 4   violation of Plaintiffs’ constitutional rights enshrined in the First and Fourteenth
 5   Amendments.
 6          10.      Plaintiffs bring this case seeking a declaration that the Voter Registration
 7   Cutoff is unconstitutional as applied, and a temporary restraining order and preliminary
 8   injunction to immediately enjoin Defendant Secretary of State from enforcing the Voter
 9   Registration Cutoff this year and directing her to extend it so that thousands more
10   eligible voters can be registered to vote this year.
11                                 JURISDICTION AND VENUE
12          11.      Plaintiffs bring this action pursuant to 42 U.S.C. §§ 1983 and 1988 for
13   violations of their rights under the First and Fourteenth Amendments to the U.S.
14   Constitution.
15          12.      This Court has jurisdiction under Article III, § 2 of the United States
16   Constitution, and pursuant to 28 U.S.C. §§ 1331, 1343, and 1357.
17          13.      This Court has authority to issue declaratory and injunctive relief pursuant
18   to 28 U.S.C. §§ 2201 and 2202.
19          14.      Venue in this district is proper under 28 U.S.C. § 1391 because the
20   Defendant resides in this District and a substantial part of the events or omissions giving
21   rise to this claim occurred in this District.
22                                             PARTIES
23          15.      Plaintiff Mi Familia Vota (“MFV”) is a national, non-profit civic
24   engagement organization with the mission of uniting Latino, immigrant, and allied
25   communities to promote social and economic justice through citizenship workshops,
26   voter registration, and voter engagement. MFV encourages voter registration and
27   participation, and has challenged voter suppression around the nation. It has operations
28   in six states, including Arizona. MFV has had to divert money, personnel, time, and
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 1   resources away from its planned activities due to the conduct alleged here. Specifically,
 2   MFV has had to divert and spend additional money, time, and other resources it would
 3   not otherwise have spent to register voters ahead of the Voter Registration Cutoff
 4   because Defendant has not extended the Voter Registration Cutoff. Defendant’s
 5   enforcement of the Voter Registration Cutoff under these conditions has frustrated
 6   MFV’s fundamental mission of registering as many voters as possible with the specific
 7   target of registering 30,000 voters in 2020. Defendant’s enforcement of the Voter
 8   Registration Cutoff under these conditions severely burdens MFV’s ability to engage in
 9   constitutionally protected political speech and associational rights through its voter
10   registration efforts.
11          16.     Plaintiff Arizona Coalition for Change (“ACFC”) is a non-profit
12   organization with a mission to empower everyday people to transform their community
13   by building civic power, just and equitable schools, and safer neighborhoods. ACFC’s
14   civic engagement team’s primary mission is to register people to vote. Plaintiff ACFC
15   has had to divert money, personnel, time, and resources away from its planned activities
16   due to the conduct alleged here. Specifically, ACFC has had to divert and spend
17   additional money, time, and other resources it would not otherwise have spent to
18   register voters ahead of the Voter Registration Cutoff because Defendant has not
19   extended the Voter Registration Cutoff. Defendant’s enforcement of the Voter
20   Registration Cutoff under these conditions has frustrated ACFC’s fundamental mission
21   of registering as many voters as possible with the specific target of registering 25,000
22   voters in 2020. Defendant’s enforcement of the Voter Registration Cutoff under these
23   conditions severely burdens the Coalition’s ability to engage in constitutionally
24   protected political speech and associational rights through its voter registration efforts.
25          17.     Plaintiff Ulises Ventura is a resident of Phoenix, Arizona and engages in
26   voter registration work there and in Tucson, Arizona in his capacity as an employee of
27   Mi Familia Vota.
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 1          18.    Defendant Katie Hobbs is the Arizona Secretary of State. Defendant
 2   Secretary Hobbs is a person within the meaning of 42 U.S.C. § 1983 and acts under
 3   color of state law. As Secretary of State, Secretary Hobbs is Arizona’s chief election
 4   officer. She is an elected officer and is responsible for overseeing and administering
 5   elections in Arizona. Ariz. Con. Art. V; Ariz. Rev. Stat. § 16-142(A). Secretary Hobbs
 6   has the authority to promulgate rules and procedures for elections, such as voter
 7   registration. See Ariz. Rev. Stat. §§ 16-452(A) & 16-168(J). To date, however,
 8   Secretary Hobbs has not extended the Voter Registration Cutoff. Secretary Hobbs is
 9   sued in her official capacity.
10                                             FACTS
11   Arizona’s Voter Registration Cutoff
12          19.    Arizona law requires voters to register to vote 29 days before an election
13   to be able to vote in that election.
14          20.    Specifically: “An elector shall not vote in an election called pursuant to
15   the laws of this state unless the elector has been registered to vote as a resident within
16   the boundaries or the proposed boundaries of the election district for which the election
17   is being conducted and the registration has been received by the county recorder or the
18   recorder's designee pursuant to § 16-134 before midnight of the twenty-ninth day
19   preceding the date of the election.” Ariz. Rev. Stat. Ann. § 16-120.
20          21.    Arizona law further provides that a registration received by the county
21   recorder through the mail is timely if it was “postmarked twenty-nine days or more
22   before an election,” or “dated twenty-nine days or more before an election and is
23   received by the county recorder by first class mail within five days after the last day to
24   register to vote.” Ariz. Rev. Stat. Ann. §§ 16-134(C)(1)–(2).
25          22.    Thus, whether a citizen registers to vote in person, by mail, or otherwise,
26   the registration form must be completed and submitted by twenty-nine days before the
27   election.
28          23.    This year, election day is Tuesday, November 3, 2020.
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 1             24.   That means that, in order to be able to vote in this year’s election,
 2   Arizonans must submit their registration to vote no later than Monday, October 5, 2020
 3   (the “Voter Registration Cutoff”).
 4             25.   Plaintiffs MFV and ACFC are not-for-profit organizations which engage
 5   in voter registration work.
 6             26.   Plaintiff Ulises Ventura helps voters complete their registration and is
 7   employed as a voter registration organizer by MFV.
 8             27.   In 2020, both organizational Plaintiffs joined a coalition of organizers
 9   dedicated to registering 250,000 new voters for the 2020 election.
10             28.   Plaintiff MFV had a target for its organization of registering 30,000 new
11   voters this year.
12             29.   Prior to March 20, 2020, MFV had registered 9,845 new voters.
13             30.   Prior to March 20, 2020, MFV was on track to register 41,568 voters by
14   October 5 and exceed its target of registering 30,000 new voters.
15             31.   Plaintiff ACFC had a target for its organization of registering 25,000 new
16   voters this year.
17             32.   Prior to March 30, 2020, ACFC had registered 6,662 new voters.
18             33.   Prior to March 30, 2020, ACFC was on track to meet or exceed its target
19   of registering 25,000 new voters before the Voter Registration Cutoff.
20   The COVID-19 Pandemic Hits Arizona
21             34.   Plaintiffs’ voter registration work was effectively halted by the impact of
22   the COVID-19 pandemic on Arizona and the Arizona government’s response to that
23   crisis.
24             35.   The first known case of community-based transmission of COVID-19 in
25   Arizona was documented on March 6, 2020. Cases then spread rapidly.
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 1           36.   Since March 6, at least 5,650 people have died of the virus in Arizona and
 2   there have been 218,507 confirmed cases.1
 3           37.   On March 12, 2020, Governor Doug Ducey declared a state of emergency
 4   in Arizona due to the pandemic.2
 5           38.   On March 15, 2020, all schools were closed statewide.3
 6           39.   On March 17, 2020, the Arizona Department of Health Services issued
 7   guidance that included canceling or postponing gatherings of 10 people or more.4
 8           40.   On March 19, 2020, bars, gyms, and movie theaters were required to close
 9   and restaurants were directed to provide dine-out options only.5
10           41.   On March 30, 2020, Governor Ducey issued a statewide stay-at-home
11   order which prevented Arizonans from leaving their residences except for food,
12   medicine, and other essential activities. The order also directed all people to maintain
13   physical distancing of at least six feet away from others in shared or outdoor spaces.6 A
14   violation of the order was a class 1 misdemeanor.7
15           42.   On April 8, 2020, the Governor issued an order requiring travelers from
16   “area[s] with substantial community [COVID-19] spread” to isolate and self-quarantine
17   upon arrival in Arizona.8
18           43.   On April 29, 2020, the Governor extended the March 30, 2020 stay-at-
19   home order through May 15, 2020 by a similar executive order.9
20
21   1
             See Ariz. Dep’t of Health Servs., Data Dashboard,
22   https://www.azdhs.gov/preparedness/epidemiology-disease-control/infectious-disease-
     epidemiology/covid-19/dashboards/index.php (last visited Sept. 30, 2020).
23   2
             Ariz. Declaration (Mar. 11, 2020),
24   https://azgovernor.gov/sites/default/files/declaraton_0.pdf.
     3
             See Ariz. Exec. Order No. 2020-18 (Mar. 30, 2020) at 1.
25   4
             See id.
     5
             Ariz. Exec. Order No. 2020-09 (Mar. 19, 2020) at 2.
26   6
             Ariz. Exec. Order No. 2020-18 (Mar. 30, 2020) at 3.
     7
27           Id. at 4 (citing Ariz. Rev. Stat. § 26-317).
     8
             Ariz. Exec. Order No. 2020-24 (Apr. 8, 2020) at 2.
28   9
             See generally Ariz. Exec. Order No. 2020-33 (Apr. 29, 2020).
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 1            44.   Governor Ducey rescinded the stay-at-home order and loosened other
 2   COVID-19-related restrictions as of May 12, 2020.10
 3            45.   Arizonans were still directed to maintain physical distancing from others
 4   in public areas and avoid settings where physical distancing was not possible.11
 5            46.   A surge of new cases in Arizona followed the Governor’s attempts to
 6   loosen restrictions, with an increase of over 800% in new cases reported between the
 7   middle of May and early July.12
 8            47.   In response, the Governor re-imposed restrictions on large public events
 9   and many non-essential businesses through executive orders issued on June 2913 and
10   July 9, 2020,14 and continued to extend those restrictions through August 6, 2020 when
11   the orders expired.15
12            48.   The number of new cases in Arizona in August and September has been
13   lower than in June and July, but the virus continues to spread throughout the state.
14            49.   On the single day of September 23, 2020, for example, Arizona reported
15   578 new, documented COVID-19 cases in the state.16
16
17
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     10
19           Ariz. Exec. Order No. 2020-36 (May 12, 2020) at 2 (rescinding Exec. Order Nos.
     2020-18, 2020-24, and 2020-33).
20   11
             Id.
     12
             Anne Gearan & Jacqueline Dupree, White House calls Arizona a coronavirus
21
     success story as state resets after huge spike in cases, Wash. Post (Aug. 5, 2020),
22   https://www.washingtonpost.com/politics/white-house-calls-arizona-a-coronavirus-
     success-story-as-state-resets-after-huge-spike-in-cases/2020/08/05/a76774a0-d74a-
23   11ea-930e-d88518c57dcc_story.html.
     13
24           Ariz. Exec. Order No. 2020-43 (June 29, 2020) at 2–3.
     14
             Ariz. Exec. Order No. 2020-47 (July 9, 2020) at 3.
25   15
             Ariz. Exec Order No. 2020-52 (July 23, 2020) at 2 (extending Executive Order
     No. 2020-42).
26   16
             See Ariz. Dep’t of Health Servs., Data Dashboard,
27   https://www.azdhs.gov/preparedness/epidemiology-disease-control/infectious-disease-
     epidemiology/covid-19/dashboards/index.php (last visited Sept. 30, 2020) (click
28   “Confirmed COVID-19 Cases by Day”).
                                                  7
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 1           50.    Because Arizona has tested only a small percentage of residents for
 2   coronavirus infection, it is likely that the true rate of infection and fatalities is higher
 3   than reported.
 4           51.    Medical experts predict an ongoing, second, or worse wave of COVID-19
 5   infections in the fall and winter of 2020.17
 6   The COVID-19 Pandemic Conditions Severely Curtailed Plaintiffs’ Voter
 7   Registration Work

 8           52.    Plaintiffs typically do their voter registration work in person, either by
 9   going door-to-door, or by holding voter registration events at high-traffic public areas
10   such as churches, schools, community centers, and stores.
11           53.    In response to the pandemic and the Governor’s orders, the majority of
12   these high-traffic areas, including schools, churches, and community centers, closed at
13   the end of March 2020 and most remain closed to this day.
14           54.    Even in those high-traffic areas which remained open, such as grocery
15   stores, it was almost impossible for voter registration staffers to register voters while
16   maintaining the physical distancing of at least 6 feet required by the Governor’s orders.
17           55.    Similarly, it became almost impossible to do door-to-door registration at
18   potential voters’ homes while maintaining the required physical distancing of at least 6
19   feet.
20           56.    Potential voters as well as Plaintiffs’ voter registration organizers were
21   understandably fearful they would catch the virus if they engaged in the close contact
22   required for a voter registration employee to help fill out a voter registration form.
23   17
             See Audrey Cher, WHO’s Chief Scientist Says There’s a ‘Very Real Risk’ of a
24   Second Wave of Coronavirus as Economies Reopen, CNBC (June 9, 2020),
     https://cnb.cx/2MM8p97; Len Strazewski, Harvard Epidemiologist: Beware COVID-
25   19’s Second Wave This Fall, American Medical Ass’n (May 8, 2020), https://www.ama-
     assn.org/delivering-care/public-health/harvard-epidemiologist-beware-covid-19-s-
26
     second-wave-fall; Zack Budryk, CDC Director Warns Second Wave of Coronavirus
27   Might Be ‘More Difficult’, The Hill (Apr. 21, 2020),
     https://thehill.com/policy/healthcare/493973-cdc-director-warns-second-wave-of-
28   coronavirus-might-be-more-difficult.
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 1          57.    These fears were well-founded. The COVID-19 virus spreads though
 2   respiratory droplets left in the air, sometimes for hours, after an infected person sneezes,
 3   coughs, exhales deeply, or speaks. Many people who contract the virus do not exhibit
 4   symptoms but can still spread the virus to others. Wearing masks mitigates, but does not
 5   eliminate, the risk of contracting the virus and is not a substitute for social distancing of
 6   at least 6 feet from other people.18 The consequences of contracting the virus can be
 7   severe and even fatal.19 To date, the pandemic has killed more than 200,000 Americans.
 8          58.    As a result, for five months—from the time Governor Ducey first issued a
 9   stay-at-home order on March 30, 2020, until the middle of August when government-
10   imposed restrictions were lifted and the case numbers began to go down—Plaintiffs
11   were effectively prevented from registering voters in person.
12          59.    During this five-month period, Plaintiffs attempted to replicate in-person
13   voter registration with voter registration by phone, text, and online, as well as through
14   drive-through voter registration events.
15          60.    But the number of voters they were able to register was dramatically
16   lower than with in-person voter registration.
17          61.    The Secretary of State’s own data confirms that voter registration this year
18   is significantly lower than in 2016, the last Presidential election year. Between January
19   and August 2016, 146,214 new voters registered. In the same period this year, the State
20   processed only 62,565 registrations.
21          62.    Plaintiff MFV, for example, registered 1,523 voters in the single week
22   preceding Governor Ducey’s March 30 stay-at-home order.
23
24
25   18
            Ctrs. for Disease Control and Prevention, Coronavirus Disease 2019 (COVID-
     19): Symptoms (May 13, 2020), https://www.cdc.gov/coronavirus/2019-
26
     ncov/symptoms-testing/symptoms.html.vo
     19
27          Ctrs. for Disease Control and Prevention, Coronavirus Disease 2019 (COVID-
     19): Clinical Care Guidance (Sept. 10, 2020), https://www.cdc.gov/coronavirus/2019-
28   ncov/hcp/clinical-guidance-management-patients.html.
                                                9
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 1          63.     But between March 30 and the middle of August, Plaintiff MFV
 2   registered on average only 193 voters every week.
 3          64.     During the months of April through July, ACFC registered only 710 total
 4   new voters.
 5          65.     Many potential voters were reluctant to share personal identifying
 6   information such as social security numbers over the phone.
 7          66.     Many of the potential voters in the communities Plaintiffs serve lack
 8   reliable internet access and devices necessary to complete voter registration online.
 9          67.     Also, in the midst of this shutdown, Arizona closed its online registration
10   system for four days right before the deadline to register for the spring primary
11   elections.20
12          68.     Until September 4, 2020, Arizona’s online voter registration system did
13   not allow a voter to register online if they had a non-traditional address, which is
14   common among Native American voters who live on tribal lands.
15          69.     To this day, Arizona’s online voter registration system only allows voters
16   to register online if they have State-issued driver’s licenses, not other forms of
17   identification such as tribal identification for Native American voters or student
18   identification for young, new voters.
19          70.     In addition, many would-be voters across the state were unable to submit
20   voter registrations earlier in the pandemic, and many were unable to register with an
21   address that would be reliably maintained through the November election. The
22   Governor extended expiration of state motor vehicle licenses, but state election law does
23   not accommodate voters who registered with expired licenses and then moved
24   residences across county lines.
25
26   20
             Dylan Smith, Arizona shutting down online voter registration at spring deadline,
27   Tuscon Sentinel (Apr. 15, 2020),
     https://www.tucsonsentinel.com/local/report/041520_az_mvd_voters/arizona-shutting-
28   down-online-voter-registration-spring-deadline/.
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 1   The Organizational Plaintiffs Diverted Resources Because of the Impending Voter
     Registration Cutoff
 2
 3          71.    Plaintiffs diverted significant resources to try register as many voters
 4   ahead of the impending Voter Registration Cutoff of October 5.
 5          MFV
 6          72.    In August, Plaintiff MFV developed and implemented a new health and
 7   safety protocol to be able to resume in-person voter registration, including the use of
 8   PPE, safety measures and training, and health screening.
 9          73.    MFV increased the salary for voter registration workers to be able to staff
10   up and register as many voters as possible ahead of the Voter Registration Cutoff.
11          74.    In order to minimize COVID-19-related health absences of its workers so
12   as to maximize the number of voters MFV could register ahead of the October 5
13   deadline, MFV also had to divert additional money and resources to find and purchase
14   PPE and equip all its voter registration employees with PPE; develop and train them in a
15   new COVID-19 safety protocol for in-person registration; and hire a health inspector to
16   routinely screen all employees participating in voter registration.
17          75.    MFV also diverted resources to reassign staff to try to register as many
18   voters as possible ahead of the deadline.
19          76.    For example, MFV diverted resources to move staff, including plaintiff
20   Ulises Ventura, from its Phoenix office to its Tucson office, which had been closed
21   during the shutdown, in order to ramp back up voter registration efforts there ahead of
22   the Voter Registration Cutoff.
23          77.    MFV also diverted resources away from other work it typically does in
24   voter education in order to prioritize voter registration ahead of the deadline.
25          ACFC
26          78.    ACFC diverted significant resources to move its entire registration effort
27   from in-person to online in order to register voters ahead of the Voter Registration
28   Cutoff.
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 1          79.     Because many of ACFC’s voter registration employees are young people
 2   from communities of color, many of them lacked the resources needed to work
 3   virtually.
 4          80.     ACFC had to divert resources to purchase them Wifi hotspots, cell phones
 5   to call and text potential voters, and tablets to help potential voters register online.
 6          81.     ACFC also spent money purchasing software to help their employees
 7   make calls and send texts to potential voters.
 8          82.     ACFC diverted resources to create and run digital advertisements and
 9   purchase related software which would allow them to follow up with people who
10   responded to an advertisement and expressed interest in registering to vote.
11          83.     ACFC diverted resources to create and implement a new text-messaging
12   voter registration campaign.
13          84.     ACFC diverted resources to train its volunteers on these new voter
14   registration methods and the supportive technologies. It took time for ACFC’s
15   employees and volunteers to learn, adapt, and become comfortable with the new voter
16   registration processes.
17          85.     Since restrictions throughout the state began to loosen in August, ACFC
18   diverted additional resources to develop and host drive-through registration events in
19   church and foodbank parking lots, voter registration mask give-away events at local
20   elementary schools, and drive-in movie voter registration events.
21          86.     During this period, ACFC also increased its spending on digital
22   advertising.
23          87.     ACFC diverted resources to build new employee schedules to be able to
24   create and staff this registration program. This required ACFC to divert employees from
25   other projects into the voter registration work, including changing people’s job
26   descriptions, titles, positions, and work hours.
27          88.     In addition to having to divert money, time, and employees, ACFC also
28   had to divert additional time to voter registration. Prior to the pandemic, in a typical six-
                                                   12
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 1   hour shift, one voter registration employee would on average register 1.5 new voters
 2   every hour; that has now dropped to 0.35 new voters per hour.
 3           89.      In order to pay for all of these unprecedented costs and to ensure that
 4   ACFC’s voter registration efforts moved forward as quickly as possible, in light of the
 5   upcoming Voter Registration Cutoff, ACFC had to divert resources to engage in
 6   additional, unplanned fundraising; apply for grants from COVID relief funds; and
 7   reallocate funds from its other projects.
 8           90.      If MFV and ACFC had not diverted these resources to in-person
 9   registration ahead of the Voter Registration Cutoff, then they would have frustrated
10   their mission of registering voters.
11   Enforcement of the Voter Registration Cutoff Under these Conditions Severely
12   Burdens Plaintiffs’ First and Fourteenth Rights to Register Voters

13           91.      Enforcement of the Voter Registration Cutoff will frustrate Plaintiffs’
14   mission to register as many voters as possible for the 2020 election and thousands of
15   Arizonans will be denied their right to vote.
16           92.      Under the pandemic conditions which have been in effect in Arizona since
17   March 2020, Defendant’s enforcement of the Voter Registration Cutoff severely
18   burdens Plaintiffs’ right to register voters in time for the election this year.
19           93.      Plaintiffs’ redoubled post-shutdown registration efforts are just beginning
20   to bear fruit.
21           94.      For example, since Plaintiff MFV resumed in-person registration work at
22   the end of August, in the last three weeks, it has registered 4,500 additional voters.
23           95.      This rate is similar to the rate of registration MFV had been experiencing
24   prior to the shutdown, i.e. approximately 1,523 voters per week.
25           96.      MFV has now registered a total of just under 14,000 voters so far this
26   year.
27           97.      ACFC has registered 9,637 voters so far this year.
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                                                    13
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 1          98.    An extension of the Voter Registration Cutoff would allow Plaintiffs to
 2   register thousands of new voters before the November election.
 3   Arizona Can Easily Extend the Voter Registration Cutoff
 4          99.    Any inconvenience the Secretary might experience from an extension of
 5   the Voter Registration Cutoff will be minimal due to Arizona’s registration and election
 6   process.
 7          100.   Arizona is already required to process four categories of overseas voter
 8   registrations, and domestic registrations timely postmarked by the Voter Registration
 9   Cutoff, as late as 7:00 p.m. on election day, belying any claim by the Secretary that
10   Arizona is unable to accept new registrations after October 5.21
11          101.   Arizona already allows early voting to begin just two days after the Voter
12   Registration Cutoff. Ariz. Rev. Stat. § 16-541.22 That means that, as a matter of course,
13   Arizonians can register to vote on October 5 and cast their ballot by voting early just
14   two days later on October 7.
15
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     21
17            See Ariz. Rev. Stat. § 16-103(A), (C) (qualified registrants temporarily absent
     from the state may register by submitting an affidavit to the county recorder up until
18   7:00 p.m. on election day); Id. § 16-103(B), (C) (designated overseas voters, including
19   military servicemembers, federal employees, and their families, may, register to vote via
     federal postcard application up until 7:00 p.m. on election day); Id. § 16-103(E) (U.S.
20   citizens who have never resided in the U.S. and whose parent is a citizen who is
     registered to vote in Arizona may register using a federal write-in early ballot, as long as
21
     it is received by the county recorder by 7:00 p.m. on election day); Id. § 16-103(D)
22   (these same designated overseas voters, if discharged from overseas service in the 90
     days before election day, may register to vote by 5:00 p.m. on the Friday before election
23   day); Id. § 16-134(C)(1) (in case of registration by mail, a registration is valid if “[t]he
24   form is postmarked twenty-nine days or more before an election and is received by the
     county recorder by 7:00 p.m. on the day of that election.”)
25   22
              See, e.g., Maricopa Cnty. Elections Dep’t, Where Do I Vote?,
     https://recorder.maricopa.gov/pollingplace/ (last visited Sept. 30, 2020) (click: “vote
26
     centers” for early voting locations); Pima Cnty. Recorder’s Office, Early Voting Sites,
27   https://www.recorder.pima.gov/EarlyVotingSites (last visited Sept. 30, 2020); Yuma
     Cnty. Ariz., Early Voting, https://www.yumacountyaz.gov/government/recorder/voter-
28   information/early-voting (last visited Sept. 30, 2020).
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 1          102.   Arizona already allows voters to simultaneously update their voter
 2   registration addresses and cast their votes the same day. Ariz. Rev. Stat. § 16-
 3   411(b)(5).23 Arizona already has the capacity to simultaneously update a voter’s
 4   registration and allow the voter to vote in the same day.
 5          103.   Arizona has already implemented the use of electronic poll books which
 6   allow for swift and frequent updating with new voter registrations.24
 7          104.   All 15 Arizona counties subscribe to the Electronic Registration
 8   Information System (“ERIC”), an interstate system which makes it easier to “register
 9   more eligible citizens to vote.”
10          105.   For all these reasons, Arizona can extend the Voter Registration Cutoff
11   and any administrative inconvenience will be minimal at worst.
12                                FIRST CAUSE OF ACTION
                         Severe Burden on the Right to Register Voters
13                            in Violation of the First Amendment
14                        as Applied During the COVID-19 Pandemic

15          106.   Plaintiffs reallege and incorporate by reference as if fully set forth herein
16   each of the preceding paragraphs and allegations.
17          107.   The First Amendment, which is applicable to states via the Fourteenth
18   Amendment, prohibits “abridging the freedom of speech.” U.S. Const. Amend. I.
19          108.   The right to vote and the related rights to associate and engage in free
20   speech to register voters and get out the vote are core political rights protected by the
21   First Amendment.
22
23
     23
24           See, e.g., Pima Cnty. Recorder’s Office, Provisional Voter FAQ,
     https://www.recorder.pima.gov/faq_voter_provisional (last visited Sept. 30, 2020)
25   (noting that a voter can vote in person and then use a provisional ballot form to update
     their voter registration record with a new residence address).
26   24
             See Nat’l Conference of State Legislatures, Electronic Poll Books | e-Poll Books
27   (Oct. 25, 2019), https://www.ncsl.org/research/elections-and-campaigns/electronic-
     pollbooks.aspx (noting that Ariz. Rev. Stat. Ann. §§ 16-571, 16-444 authorize the use of
28   e-poll books).
                                                  15
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 1          109.   As applied during the ongoing COVID-19 emergency, Arizona’s October
 2   5 Voter Registration Cutoff severely burdens Plaintiffs’ ability to exercise core political
 3   speech and associational rights in voter registration drives in violation of the First
 4   Amendment.
 5          110.   Arizona’s interest enforcing the Voter Registration Cutoff is not narrowly
 6   tailored nor sufficiently compelling to justify the severe burden imposed on Plaintiffs’
 7   First Amendment rights.
 8          111.   Without an order enjoining Defendant from enforcing the Voter
 9   Registration Cutoff and extending the deadline, Plaintiffs will be subject to an
10   unjustifiable burden on their First Amendment rights and will suffer irreparable harm
11   for which there is no adequate remedy at law.
12                              SECOND CAUSE OF ACTION
                        Severe Burden on the Right to Register Voters
13          in Violation of the Due Process Clause of the Fourteenth Amendment
14                       as Applied During the COVID-19 Pandemic

15          112.   Plaintiffs reallege and incorporate by reference as if fully set forth herein
16   each of the preceding paragraphs and allegations.
17          113.   The Due Process Clause of the Fourteenth Amendment of the U.S.
18   Constitution provides that “[n]o States shall . . . deprive any person of life, liberty or
19   property, without due process of the law.” U.S. Const. Amend. XIV § 1.
20          114.   The right to vote and the related rights to associate and engage in free
21   speech to register voters and get out the vote are core political rights protected by the
22   Due Process Clause of the Fourteenth Amendment.
23          115.   As applied during the ongoing COVID-19 emergency, Arizona’s October
24   5 Voter Registration Cutoff severely burdens Plaintiffs’ ability to exercise core political
25   speech and associational rights in voter registration drives in violation of the Due
26   Process Clause of the Fourteenth Amendment.
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 1          116.   Arizona’s interest in enforcing the Voter Registration Cutoff is not
 2   narrowly tailored nor sufficiently compelling to justify the severe burden imposed on
 3   Plaintiffs’ Fourteenth Amendment rights.
 4          117.   Without an order enjoining Defendant from enforcing the Voter
 5   Registration Cutoff and extending the deadline, Plaintiffs will be subject to an
 6   unjustifiable burden on their Fourteenth Amendment rights and will suffer irreparable
 7   harm for which there is no adequate remedy at law.
 8                              THIRD CAUSE OF ACTION
                                    Declaratory Judgment
 9                       (Fed. R. Civ. P. 57 and 28 U.S.C. §§ 2201–02)
10          118.   Plaintiffs reallege and incorporate by reference as if fully set forth herein
11   each of the preceding paragraphs and allegations.
12          119.   A justiciable case and controversy exists because Defendant’s
13   enforcement of the Voter Registration Cutoff under the pandemic conditions in effect in
14   Arizona imminently threaten to severely burden Plaintiffs’ First and Fourteenth
15   Amendment rights to register voters in time for the November 2020 election.
16          120.   Plaintiffs are entitled to a declaratory judgment that Defendant’s
17   enforcement of the Voter Registration Cutoff as applied here under the pandemic
18   conditions in Arizona is unconstitutional.
19                                    PRAYER FOR RELIEF
20          WHEREFORE, Plaintiffs respectfully request that this Court:
21          Preliminarily and permanently enjoin Defendant from enforcing the Voter
22   Registration Cutoff this election cycle;
23          a.     Order Defendant to extend the Voter Registration Cutoff to a date no
24   earlier than October 27, 2020;
25          b.     Declare that enforcement of the Voter Registration Cutoff as applied
26   under the pandemic conditions in Arizona is unconstitutional in violation of the First
27   and Fourteenth Amendments;
28          c.     Award Plaintiffs reasonable attorneys’ fees and costs;
                                                  17
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 1         d.       Retain jurisdiction to ensure Defendant’s ongoing compliance with the
 2   foregoing orders; and
 3         e.       Grant such other and further relief that this Court deems just and
 4   appropriate.
 5         DATED this 30th day of September, 2020.
 6                                             EMERY CELLI BRINCKERHOFF ABADY
 7                                             WARD & MAAZEL LLP

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